Case Header Information                                                                      Page 1 of 3
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                                             EXHIBIT B
  CaseSearch                           Circuit Court of Maryland

  Case Information
  Court System:   Circuit Court For Allegany County - Civil
  Location:       Allegany Circuit Court
  Case Number:    C-01-CV-18-000253
  Title:          Robert Candy, et al. vs. People for the Ethical Treatment of Animals, Inc., et al.
  Case Type:      Tort - Defamation
  Filing Date:    05/23/2018
  Case Status:    Open


  Involved Parties Information


  Defendant

  Name: Fontes, Chris
  Address: 501 Front Street
  City:    Norfolk State: VA Zip Code: 23510



  Defendant

  Name: Staser, Kristine
  Address: Not known
  City:    Believed to be Youngstown State: OH Zip Code: 44405



  Plaintiff

  Name: Candy, Robert L
  Address: 10105 Cottage Lane
  City:    Cumberland State: MD Zip Code: 21502
  Attorney(s) for the Plaintiff
  Name:              Young, Nevin L
  Appearance Date:   05/23/2018
  Address Line 1:    BURLINGTON & YOUNG
  Address Line 2:    170 WEST STREET
  City:              ANNAPOLIS State: MD Zip Code: 21401




  Defendant

  Name: People for the Ethical Treatment of Animals, Inc.
  Address: 501 Front Street
  City:    Norfolk State: VA Zip Code: 23510




http://casesearch.courts.state.md.us/casesearch/inquiryDetail.jis?caseId=C01CV18000253...     5/29/2018
Case Header Information                                                                     Page 2 of 3
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  Plaintiff

  Name: Animal Park, Care and Rescue Inc.
  Address: 10105 Cottage Inn Lane
  City:    Cumberland State: MD Zip Code: 21502
  Attorney(s) for the Plaintiff
  Name:              Young, Nevin L
  Appearance Date:   05/23/2018
  Address Line 1:    BURLINGTON & YOUNG
  Address Line 2:    170 WEST STREET
  City:              ANNAPOLIS State: MD Zip Code: 21401




  Plaintiff

  Name: Tri State Zoological Park of Western Maryland, Inc.
  Address: 10105 Cottage Inn Lane
  City:    Cumberland State: MD Zip Code: 21502
  Attorney(s) for the Plaintiff
  Name:              Young, Nevin L
  Appearance Date:   05/23/2018
  Address Line 1:    BURLINGTON & YOUNG
  Address Line 2:    170 WEST STREET
  City:              ANNAPOLIS State: MD Zip Code: 21401




  Defendant

  Name: Peet, Brittany
  Address: 1536 16th Street NW
  City:    Washington State: DC Zip Code: 20036



  Defendant

  Name: Winders, Delcianna
  Address: 1236 16th Street NW
  City:    Washington State: DC Zip Code: 20036



  Defendant

  Name: Brown, Holly
  Address: Unknown Address
  City:    Believed to be Towson State: MD Zip Code: 21204




http://casesearch.courts.state.md.us/casesearch/inquiryDetail.jis?caseId=C01CV18000253...    5/29/2018
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  Defendant

  Name: Brown, Casey
  Address: Unknown
  City:    Believed to be Towson State: MD Zip Code: 21204



  Defendant

  Name: Henstock, Colin
  Address: 501 Front Street
  City:    Norfolk State: VA Zip Code: 23510


  Document Information
  File Date:     05/23/2018 Close Date:
  Filed By:
  Document Name: Complaint / Petition
  Comment:       Complaint

  File Date:     05/23/2018 Close Date:
  Filed By:
  Document Name: Case Information Report Filed
  Comment:       Case Information Sheet

  File Date:     05/24/2018 Close Date:
  Filed By:
  Document Name: Summons Issued (Service Event)
  Comment:

  Service Information
     Service Type        Issued Date      Service Status
   Summons Issued        05/24/2018

     This is an electronic case record. Full case information cannot be made available either because of legal
  restrictions on access to case records found in Maryland Rules, or because of the practical difficulties inherent
                                in reducing a case record into an electronic format.




http://casesearch.courts.state.md.us/casesearch/inquiryDetail.jis?caseId=C01CV18000253...             5/29/2018
            Case 1:18-cv-01549-PX Document 2-1 Filed 05/29/18 Page 4 of 6
                                               C-01-CV-18-000253
                                                                                                                              E-FILED
                                                                                                                Allegany Circuit Court
                                                                                                                    5/23/2018 2:25 PM

IN THE CIRCUIT COURT FOR Allegany County                                  (City or County)
                                                                                                                .     ......

                             - NON-DOMESTIC                    E INFORMATION REPORT
                                                         DIRECTIONS
   Plaintiff: This Information Report must be completed and attached to the complaint filed with the
Clerk of Court unless your case is exempted from the requirement by the Chief Judge of the Court of
Appeals pursuant to Rule 2-111(a).
   Defendant: You must file an Information Report as required by Rule 2-323(h).
                  THIS INFORMATION REPORT CANNOT BE ACCEPTED AS A PLEADING
FORM FILED BY: OPLAINTIFF ODEFENDANT                                    CASE NUMBER                                        ..
                                                                                                —WTI to insert)
CASE NAME: Robert Candy, et al.                                        vs. People for the Ethical    Treatment    of  etc.
                 ----------------------- -----PliiiiiiTi                                   D-e-reii-aaiii--- ------- —------
PARTY'S NAME: Robert Candy                                                            PHONE: 2407278051
PARTY'S ADDRESS: 10105 Cottage Inn Lane Cumberland             _......_.....MD
PARTY'S E-MAIL:                                                                    ______
If represented by an attorney:
PARTY'S ATTORNEY'S NAME Nevin L. Young          ......_......_  pHoNE. 410-353-9210
PARTY'S ATTORNEY'S ADDRESS:170- -W-est Street, Annapolis -M5 f-401
PARTY'S ATTORNEY'S E-MAIL: nyoung@burlingtonyounglaw.com
JURY DEMAND? anYes ClNo
RELATED CASE PENDING? 0Yes ON° If yes, Case #(s), if knowm___....._________......_______....._.....
ANTICIPATED LENGTH OF TRIAL?: __hours ..._5_____ days
                                                 PLEADING TYPE
New Case:         SI Original              Cl Administrative Appeal ID Appeal
Existing Case: ElPost-Judgment             El Amendment
Iffiling in an existing case, skip Case Category/ Subcategory section - go to Relief section.
               IF NEW CASE: CASE CATEGORY/SUBCATEGORY (Check one box.)
TORTS                          0 Government                PUBLIC LAW                     0 Constructive Trust
IQ  Asbestos
    Assault and Battery
                               DI Insurance
                               U Product Liability
    Business and Commercial PROPERTY
                                                           0 Attorney Grievance
                                                           0Bond     Forfeiture Remission
                                                                                          0 Contempt
                                                                                          CI Deposition Notice
0 Conspiracy                                               0 Civil Rights                 0 Dist Ct Mtn Appeal
El Conversion                  0 Adverse Possession        O County/Mncpl Code/Ord 0 Financial
                                  Breach of Lease          O Election Law                 El Grand Jury/Petit Jury
IRI Defamation
O False  Arrest/Imprisonment
                                  Det inue                 im   minent Domain/Condemn. ID Miscellaneous
                               ❑ Distress/Distrain         0 Environment                  EI Perpetuate Testimony/Evidence
0 Fraud                        0 Ejectment
0 Lead Paint - DOB of                                      0 Error Coram Nobis            ID Prod. of Documents Req.
                               O Forcible  Entry/Detainer                                 10 Receivership
    Youngest Pit:              0 Foreclosure               [--3 Habeas Corpus
                                                           0    Mandamus                  El Sentence Transfer
O Loss of Consortium              El Commercial                                           0 Set Aside Deed
0 Malicious Prosecution           El Residential           171  Prisoner Rights
                                                                                          0 Special Adm. - Atty
171 Malpractice-Medical           10 Currency or Vehicle 0 Public Info. Act Records 0 Subpoena Issue/Quash
    Malpractice-Professional      El Deed of Trust         0 Quarantine/Isolation         0 Trust Established
El Misrepresentation              El Land Installments     0 Writ of Certiorari           O Trustee Substitution/Removal
0 Motor Tort                      Li Lien                  EMPLOYMENT
                                                                                          CI Witness Appearance-Compel
O Negligence                      O Mortgage                                              PEACE ORDER
0 Nuisance                    0Right of Redemption 0 ADA                            0 Peace Order
El Premises Liability         ID Statement Condo       0 Conspiracy
                                                                                    EQUITY
0 Product Liability        0 Forfeiture of Property / 0 EEO/HR
                              Personal  Item                                        0 Declaratory Judgment
    loecific Performance                               O FLSA
   Toxic Tort              0 Fraudulent Conveyance ❑ FMLA                           0 Equitable Relief
14 Trespass                0 Landlord-Tenant           CI Workers' Compensation Ci Injunctive Relief
LI Wrongful Death          0 Lis Pendens                                            0 Mandamus
                                                       El Wrongful Termination
CONTRACT                      Mechanic's Lien                                       OTHER
0 Asbestos                    Ownership                INDEPENDENT
                                                                                    0 Accounting
0 Breach                   0  Partition/Sale in Lieu   PROCEEDINGS                  0 Friendly Suit
Ci Business and Commercial 0 Quiet Title               0 Assumption of Jurisdiction 0 Grantor in Possession
❑ Contessed Judgment       ri Rent Escrow
   (Cont'd)                0 Return of Seized Property 0 Authorized Sale            0 Maryland Insurance Administration
                           0  Right  of Redemption     0 Attorney Appointment       El Miscellaneous
ID Construction                                        0 Body  Attachment Issuance  0 Specific Transaction
O Debt                     EJ Tenant Holding    Over
ri Fraud                                               0 Commission Issuance        0 Structured Settlements

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                 IF NEW OR EXISTING CASE: RELIEF (Check All that Apply)
    Abatement                    El Earnings Withholding El Judgment-Interest      El Return of Property
El Administrative Action         0 Enrollment             0 Judgment-Summary       0 Sale of Property
0 Appointment of Receiver        O Expungement           10 Liability              El Specific Performance
El Arbitration                   El Findings of Fact      El Oral Examination      0 Writ-Error Coram Nobis
El Asset Determination           El Foreclosure           In Order                 0 Writ-Execution
0 Attachment b/f Judgment        El Injunction            °Ownership of Property 0 Writ-Garnish Property
El Cease & Desist Order          El Judgment-Affidavit    0 Partition of Property  El Writ-Garnish Wages
CI Condemn Bldg                  0 Judgment-Attorney Fees ID Peace Order                rit- a eas Corpus
El Contempt                      El Judgment-Confessed                             0  Writ-Mandamus
                                                          0 Possession
El Court Costs/Fees                                                                El Writ-Possession
                                 CI Judgment-Consent      El Production of Records
Fl Damages-Compensatory          0 Judgment-Declaratory El Quarantine/Isolation Order
III Damages-Punitive                Judgment-Default      EIReinstatement of Employment

If you indicated Liability above, mark one of the following. This information is not an admission and
may not be used for any purpose other than Track Assignment.
CILiability is conceded. 171Liability is not conceded, but is not seriously in dispute. I:Liability is seriously in dispute.

        MONETARY DAMAGES (Do not include Attorney's Fees, Interest, or Court Costs)

  0 Under $10,000            0 $10,000 - $30,000            ll $30,000 - $100,000           0 Over $100,000

  El Medical Bills $                      El Wage Loss $                         El Property Damages $
                       ALTERNATIVE DISPUTE RESOLUTION INFORMATION

 Is this case appropriate for referral to an ADR process under Md. Rule 17-101? (Check all that apply)
 A. Mediation           Yes 0No                              C. Settlement Conference   FiYes ElNo
 B. Arbitration      ElYes RIM                               D. Neutral Evaluation      0 Yes Igi No

                                           SPECIAL REQUIREMENTS
El If a Spoken Language Interpreter is needed, check here and attach form CC-DC-041
CI If you require an accommodation for a disability under the Americans with Disabilities Act, check
   here and attach form CC-DC-049
                                ESTIMATED LENGTH OF TRIAL
With the exception of Baltimore County and Baltimore City, please fill in the estimated LENGTH OF
TRIAL.                           (Case will be tracked accordingly)
                    0 1/2 day of trial or less                    0 3 days of trial time
                    El 1 day of trial time                        ig More than 3 days of trial time
                    CI 2 days of trial time

                BUSINESS AND TECHNOLOGY CASE MANAGEMENT PROGRAM
For all jurisdictions, if Business and Technology track designation under Md. Rule 16-308 is requested,
                 attach a duplicate copy of complaint and check one of the tracks below.

             CI Expedited- Trial within 7 months of                  Ci Standard - Trial within 18 months of
                      Defendant's response                                     Defendant's response

                                      EMERGENCY RELIEF REQUESTED



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                    COMPLEX SCIENCE AND/OR TECHNOLOGICAL CASE
                          MANAGEMENT PROGRAM (ASTAR)

      FOR PURPOSES OF POSSIBLE SPECIAL ASSIGNMENT TO ASTAR RESOURCES JUDGES under
 Md. Rule 16-302, attach a duplicate copy of complaint and check whether assignment to an ASTAR is requested.

            ❑ Expedited - Trial within 7 months of                 ❑ Standard - Trial within 18 months of
                     Defendant's response                                   Defendant's response
IF YOU ARE FILING YOUR COMPLAINT IN BALTIMORE CITY, OR BALTIMORE COUNTY,
PLEASE FILL OUT THE APPROPRIATE BOX BELOW.
            CIRCUIT COURT FOR BALTIMORE CITY (CHECK ONLY ONE)

 ■    Expedited                      Trial 60 to 120 days from notice. Non jury matters.
 •    Civil-Short                    Trial 210 days from first answer.
 ❑    Civil-Standard                 Trial 360 days from first answer.
 ❑    Custom                         Scheduling order entered by individual judge.
 ■    Asbestos                       Special scheduling order.
 ❑    Lead Paint                     Fill in: Birth Date of youngest plaintiff__....._...._.......______ .
 ❑    Tax Sale Foreclosures          Special scheduling order.
 ❑    Mortgage Foreclosures          No scheduling order.


                          CIRCUIT COURT FOR BALTIMORE COUNTY

 ■      Expedited             Attachment Before Judgment, Declaratory Judgment (Simple),
  (Trial Date-90 days)        Administrative Appeals, District Court Appeals and Jury Trial Prayers,
                              Guardianship, Injunction, Mandamus.

         Standard             Condemnation, Confessed Judgments (Vacated), Contract, Employment
  (Trial Date-240 days)       Related Cases, Fraud and Misrepresentation, International Tort, Motor Tort,
                              Other Personal Injury, Workers' Compensation Cases.

 ❑ Extended Standard          Asbestos, Lender Liability, Professional Malpractice, Serious Motor Tort or
  (Trial Date-345 days)       Personal Injury Cases (medical expenses and wage loss of $100,000, expert
                              and out-of-state witnesses (parties), and trial of five or more days), State
                              Insolvency.

 ❑       Complex              Class Actions, Designated Toxic Tort, Major Construction Contracts, Major
  (Trial Date-450 days)       Product Liabilities, Other Complex Cases.


                   May 23, 2018                                                 s/Nevin L. Young
                                                                            Signature of Counsel / Party
                   170 West Street
                                                                                 Nevin L. Young
                                                                                  Printed Name
Annapolis                      MD         21401
            City               State     Zip Code



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